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             EXHIBIT G
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     BARTIMUS, FRICKLETON, ROBERTSON & GORNY, P.C.

         Since its beginning over two decades ago, Bartimus, Frickleton, Robertson & Gorny, P.C.

 has devoted itself to complex, often high stakes litigation. From mass torts to class actions, from

 medical malpractice to products liability, from railroad crossing and aviation cases to the

 prosecution of drug injury cases, the firm has served its clients with lawyers devoted to

 excellence in representation of those who entrust their legal matters to us.

         The firm’s class action practice has resulted in BFRG lawyers accepting leadership

 responsibility for class actions involving claims of consumer fraud by cell phone companies,

 damage to real estate from hydrocarbon spills, illegal hotel energy surcharges, faulty air bag

 installations by General Motors and hospital overcharges of the medically indigent. In addition,

 BFRG has done something few firms have ever done – actually tried a mass tort class action to a

 jury to verdict.

         Along the way, the firm has been acclaimed as ladies and gentlemen who fight hard but

 fairly. Our work has earned us the respect of our opponents, so much so that a major insurance

 company asked that we represent them in class action litigation and a major materials company

 asked that we participate in major tort and injunctive litigation.

         Representative Litigation:

        In re Facebook Internet Tracking Litigation. Bartimus, Frickleton, Robertson & Gorny is
 Currently serving as Co-Lead counsel is this consolidated series of class action cases before the
 Honorable Edward J. Davila in the United States District Court for the Northern District of
 California. The case is in its relative infancy and currently the parties are briefing Rule 12
 motions.

         In re AT&T Mobility Sales Tax Litigation. Bartimus, Frickleton, Robertson & Gorny was
 appointed lead counsel in this consolidated case before the Honorable Amy St. Eve, District
 Judge for the Northern district of Illinois. In the summer of 2010 the firm presented a proposed
 settlement of the case to Judge St. Eve, which was ultimately given final approval in August of
 2011 and resulted in a cooperative effort between the Settlement Class and AT&T Mobility to
 seek recovery of over $1.1 Billion in sales and other taxes that were remitted to some 1200
 taxing jurisdictions throughout the United States and its territories. In addition, the settlement
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 resulted in the cessation of the collection of the taxes in question which represented a present
 value to the Settlement Class of over $2 Billion.

         State of Missouri ex rel. Nixon v. American Tobacco Co., In 1998, the Attorney General
 of Missouri chose the Bartimus firm to act as the lead firm for both the motions and appellate
 practice and all medical aspects of the tobacco litigation by which the State of Missouri sought
 recovery for its damages resulting from the sale of tobacco products to Missouri’s citizens. The
 case resulted in a settlement in which Missouri will receive $6.4 billion.

        Rodriguez v. Hogan Transportation, Inc. The firm received a $46 million verdict on
 behalf of the families of two persons killed in a truck collision. The verdict is the largest
 wrongful death verdict not involving punitive damages in Missouri’s history.

         Blando v. Nextel. The firm served as co-lead counsel for class action alleging Nextel’s
 improper collection of a so-called federal program cost recovery fee falsely designated as a tax
 on bills to customers. Value of settlement exceeded $225 million.

        Benney v. Sprint. Firm served as co-lead counsel in class action against Sprint for
 improper collection of E-911, wireless number portability and telephone number pooling charge.
 Settlement valued at more than $250 million.

        Class Actions for Uninsured Hospital Patients. Co-lead counsel in class actions filed in
 California and Missouri against charitable hospitals that overcharged uninsured patients. The
 nearly $300 million in settlements resulted in wholesale modification of the hospitals’ charitable
 care policies and refunds to persons who had overpaid on their hospital bills.

        Hudspeth v. Lake Quivira. $20 Million verdict for victim of an accident at a residential
 lake community who was rendered quadriplegic while diving into the lake

        Clement v. Hammons Hotels, Inc. Regional class action on behalf of persons improperly
 charged an energy surcharge as guests of Hammons Hotels. Firm served as co-lead counsel.
 Settlement valued at $10 million.

         Doyle v. Doe Run. Class action certified against largest lead smelter in the United States
 for property damage. Litigation pending. Firm serves as lead motions and appellate counsel.

         Fen-Phen Litigation. Firm represented over 2,000 persons injured as a result of the use
 of diet drug.

          Average Wholesale Price Litigation. The Firm represents the State of Kansas in this
 litigation charging drug companies with overcharging Medicaid recipients for drugs and other
 health-care related devices. To date settlements totaling in excess of $40,000,000.00 have been
 secured and are prosecuting approximately 25 additional cases.

        September 11 Airline Litigation. Firm served as part of the team representing airline
 victims of the September 11 terrorist attacks.

       Courtney Pharmaceutical Litigation. Firm represented and obtained settlement from
 drug manufacturers for over 50 clients who had received diluted chemotherapy drugs from
 pharmacists. Settlement for all victims exceeded $60 million.

       Ford v. General Motors. Co-lead counsel in breach of warranty claims against General
 Motors for improper design of airbag system in certain P-90 platform vehicles.
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         All told, the value of the firms’ verdicts and settlements in class action, personal injury

 and medical malpractice actions exceed $4 billion.

         From the firm the following individuals will be responsible for handling this case.

         James P. Frickleton. Jim Frickleton has practiced law in the Kansas City area for nearly

 twenty seven years, creating an enviable record as a trial lawyer, educator and Bar leader. Jim

 taught trial advocacy at the University of Missouri-Kansas City Law School for eight years and

 is a frequent lecturer at local and national CLE programs. He is a past president of the 5000

 member Kansas City Metropolitan Bar Association. During his career Jim has garnered

 numerous professional honors and awards. For the last four years he has been named as one of

 the “Top Ten” lawyers in all of Missouri and Kansas by the Super Lawyers magazine.

         Jim is a fellow of the American College of Trial Lawyers, a member of the American

 Board of Trial Advocates (ABOTA), and is a Fellow in the International Society of Barristers.

 He has served on the Missouri Supreme Court Committee for Civil Jury Instructions for the last

 twenty years. Jim has tried in excess of fifty jury trials in a variety of jurisdictions, including

 Missouri, Kansas, Oklahoma, California, South Carolina and Maryland.

         Edward D. Robertson, Jr. Chip Robertson is the former Chief Justice of the Missouri

 Supreme Court. He served as a member of the State’s highest Court for 13 years, having been

 appointed to that Court after serving as the Deputy Attorney General of Missouri and later as

 Governor John Ashcroft’s Chief of Staff. As Deputy Attorney General of Missouri, Robertson

 oversaw the entirety of the state of Missouri’s litigation, was deeply involved in the management

 of that litigation and, particularly relevant to the issues raised in this case, helped build the

 Attorney General’s Consumer Protection Division into a fully operational and highly effective

 protector of Missouri’s consumers. In addition to serving as the lead counsel in a number of cell
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 phone and other class actions, Robertson was also named liaison counsel in the Organic Milk

 MDL before Judge Richard Webber in St. Louis.

        Stephen M. Gorny. Steve Gorny has practiced law in Kansas and Missouri for 18 years.

 Steve started his career at a large defense firm in the Kansas City area. He joined Bartimus,

 Frickleton, Robertson & Gorny in 1998 and has focused his career on product liability claims,

 transportation incidents, and business torts. He has resolved numerous multi-million dollar cases

 by way of verdict and settlement. He has served on the Board of Governors of the Missouri Trial

 Attorneys since 1999, and currently sits as an elected member of its Executive Committee. Steve

 has served as the Torts Law Chairman for the Kansas City Metropolitan Bar Association. He is a

 frequent lecturer on litigation topics both locally and around the country.

        Steve has been listed in Best Lawyers in America for the past five years, has been a

 Kansas and Missouri Super Lawyer for the past six years, and is frequently selected as “Best of

 the Bar” in Kansas City. He is a Top 100 Trial Lawyer as designated by The American Trial

 Lawyers Association. He is a past president of the Mid-America Chapter of the Leukemia and

 Lymphoma Society and has received numerous awards for his service and fundraising efforts on

 behalf of the organization.

        Mary Doerhoff Winter. Mary Winter has focused her law practice in the areas of class

 actions, appellate practice and government relations for over twenty years. Prior to joining

 Bartimus, Frickleton, Robertson & Gorny, Mary had her own law practice, The Winter Group,

 P.C. Her legal and legislative clients included the Missouri State Tobacco Recovery Project,

 Bartimus, Frickleton, Robertson & Obetz, The Strong Law Firm, Mid-America Health, and the

 Workforce Development Transition Team for Missouri Governor Carnahan. She has also

 worked as general counsel and director of legislative affairs to the Missouri Department of
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 Economic Development and as general counsel to the Missouri Chamber of Commerce. In 1990,

 she was judicial clerk to Missouri Supreme Court Chief Justice Edward D. Robertson, Jr.

 Mary has served as the Chairman of the Missouri Bar Association’s Tort Law Committee and as

 Associate Editor of the Tort Law Section of the Missouri Bar’s Courts and CLE Bulletin. Her

 experience in class action litigation and working knowledge of state governmental affairs are of

 unique value to this case.
